         Case 1:12-cv-03541-RDB Document 37 Filed 04/15/14 Page 1 of 1
          Case 1:12-cv-03541-RDB          Document 36         Filed 04/14/14    Page ~,                       ENlEREO
                                                                               ___    LOOGEO                  RECEIVEO


                                                                                         APR 15 Z01W
                                                                                              Pif BALTIMORE COURT
                                                                                      ClERK U.S. O\S'll1U£k-ANO
                           UNITED STATES DISTRICT COURT                                 BlIlTRI9T
                                                                                                9t'........       9EP\flY
                                                                                 BY
                           FOR THE DISTRICT OF MARYLAND
                                (NORTHERN DIVISION)


DENISE A. WINER AND JONATHAN
WINER,
                 Plaintiffs,                            CIVIL CASE NO: RDB-12-CV-03541
     v.
LABORATORY CORPORATION OF
AMERICA,
                                                         REMOVED FROM THE CIRCUIT
                       Defendant.                        COURT FOR BALTIMORE CITY
                                                         Case No.: 24-C-12-006246 OT




                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a)(I )(A)(ii), Plaintiffs Denise and Jonathan Winer, by and through

their counsel of record, DISMISS WITH PREJUDICE all claims against Defendant Laboratory

Corporation of America that were, or could have been, raised in the above-styled lawsuit. The

parties shall each bear their own costs, expenses, and attorneys' fees.

                                    [signarures on/allowing   page)




                                                                      Request Granle<lltlis   151t1Day of Apri~ 2014-


                                                                                                iMP.
                                                                                               Richard D. Bennett
                                                                                                                  yell
                                                                                               IlnitPd states District Judae
